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                                           NATIONAL REGISTERED AGENTS, INC
                                  SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
To: Greg Aschman, SR VP - FINANCE
    Pcc Airframe Products                                                                       SOP Transmittal #   540526737
    301 HIGHLAND AVENUE
    JENKINTOWN, PA 19046
Entity Served: SPS TECHNOLOGIES, LLC (Domestic State: PENNSYLVANIA)


Enclosed herewith are legal documents received on behalf of the above captioned entity by National Registered Agents, Inc or its Affiliate
in the State of CALIFORNIA on this 03 day of November, 2021. The following is a summary of the document(s) received:

1.      Title of Action: Re: DANNIE CARMONA, an individual // To: SPS TECHNOLOGIES, LLC
2.      Document(s) Served:        Other: Summons, Attachment(s), Notice, Complaint

3.      Court of Jurisdiction/Case Number: Orange County - Superior Court - Westminster, CA
                                           Case # 30202101228559CUWTWIC

4.      Amount Claimed, if any: N/A

5.      Method of Service:
        _X_ Personally served by:        _X_ Process Server     ___ Law Enforcement      ___ Deputy Sheriff     ___ U. S Marshall
        ___ Delivered Via:               ___ Certified Mail     ___ Regular Mail         ___ Facsimile
        ___ Other (Explain):
6.       Date and Time of Receipt:          11/03/2021 02:52:00 AM CST
7.       Appearance/Answer Date: Within 30 days after service
8.       Received From:     Nicol E. Hajjar                                    9. Carrier Airbill # 1ZY041160198457669
                            WILSHIRE LAW FIRM
                            3055 Wilshire Blvd., 12th Floor
                            Los Angeles, CA 90010                              10. Call Made to: Not required
                            213-381-9988
11.         Special Comments:
SOP Papers with Transmittal, via UPS Next Day Air

Image SOP

Email Notification, Greg Aschman gaschman@spstech.com

Email Notification, Chad Seber cseber@precastcorp.com

Email Notification, Colette Koby ckoby@precastcorp.com

Email Notification, Ruth A Beyer rbeyer@precastcorp.com

Email Notification, Debie Browning dbrowning@precastcorp.com

Email Notification, Jeremy Hughes jhughes@precastcorp.com




Registered Agent: NATIONAL REGISTERED AGENTS, INC                                  CopiesTo:
866-331-2303 - Telephone
213-614-9347 - Fax


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                                                NATIONAL REGISTERED AGENTS, INC
                                      SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
To: Greg Aschman, SR VP - FINANCE
    Pcc Airframe Products                                                                                            SOP Transmittal #         540526737
    301 HIGHLAND AVENUE
    JENKINTOWN, PA 19046

Entity Served: SPS TECHNOLOGIES, LLC (Domestic State: PENNSYLVANIA)

The information contained in this Summary Transmittal Form is provided by NRAI for quick reference only. It does not constitute a legal
opinion, and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other information
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Transmitted by Amanda Garcia




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                                                                Wolters Kluwer

                       PROCESS SERVER DELIVERY DETAILS




Date:                     Wed, Nov 3, 2021

Server Name:              Bruce Anderson




Entity Served             SPS TECHNOLOGIES, LLC

Case Number               30-2021-01228559-CU-WT-WIC

J urisdiction             CA




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